
652 S.E.2d 254 (2007)
ANIMAL LEGAL DEFENSE FUND
v.
Barbara WOODLEY and Robert Woodley.
No. 127P07.
Supreme Court of North Carolina.
October 11, 2007.
Norman C. Post, Jr., George H. Whitaker, Sanford, for Woodley.
Adam H. Charnes, James J. Hefferan, Jr., Winston-Salem, for Animal Legal Defense Fund.
Christopher G. Browning, Jr., Solicitor-General, for State.
Jay Johnson.
Prior report: ___ N.C.App. ___, 640 S.E.2d 777.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendants on the 13th day of March 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Plaintiff, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 11th day of October 2007."
Upon consideration of the petition filed on the 13th day of March 2007 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
